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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                                 LUFKIN DIVISION



 UNITED STATES OF AMERICA                  §
                                           §
 V.                                        §          NO. 9:06-CR-30-12
                                           §
 MIGUEL CANEDO                             §


      FINDINGS OF FACT AND RECOMMENDATION ON GUILTY PLEA
             BEFORE UNITED STATES MAGISTRATE JUDGE


        Pursuant to 28 U.S.C. § 636(b), this matter was referred to the undersigned

 United States Magistrate Judge to receive defendant’s guilty plea.


        On January 12, 2007, defendant, defendant’s counsel, and the government

 came before the court for guilty plea and allocution on Count I of the Indictment

 filed herein, charging a violation of 21 U.S.C. § 846. After conducting proceedings

 in the form and manner prescribed by Rule 11 of the Federal Rules of Criminal

 Procedure, the undersigned finds:

        (1)    Defendant, after consultation with counsel of record, knowingly and

 voluntarily consents to pleading guilty before a United States magistrate judge,

 subject to final approval and imposition of sentence by the district judge to whom

 this case is assigned.
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       (2)    Defendant is fully competent and capable of entering an informed plea,

 is aware of the nature of the charges and the consequences of the plea, and the plea

 of guilty is a knowing and voluntary plea supported by an independent basis in fact

 containing each of the essential elements of the offense.

       (3)    Defendant’s plea is made pursuant to a plea agreement, a copy of which

 was produced for inspection and filed in the record. The plea agreement is of the

 type specified in FED . R. CRIM . P. 11 (c)(1)(A), in that the government agrees (1) to

 not bring, or move to dismiss, other charges and (2) that particular provisions of the

 Sentencing Guidelines and sentencing factors apply.

       (4)    Defendant was advised that the court would defer its decision as to

 acceptance or rejection of the plea agreement until there has been an opportunity to

 consider the presentence report.

       (5)    Defendant was advised that if the court chooses not to follow the terms

 of the plea agreement, the court will give defendant an opportunity to withdraw the

 plea of guilty. Defendant was further advised that if defendant were to then choose

 not to withdraw the plea of guilty, the court may dispose of the case less favorably

 toward the defendant than the plea agreement contemplated.


                                RECOMMENDATION


       Defendant’s guilty plea should be conditionally accepted. The court should

 defer its decision as to acceptance or rejection of the plea agreement until it has an


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 opportunity to consider the presentence report. If the court ultimately decides to

 accept the plea agreement, defendant should be adjudged guilty of the offense to

 which he has pleaded guilty.1


                    17 day of January, 2007.
       SIGNED this _____




                                        __________________________________________
                                        Earl S. Hines
                                        United States Magistrate Judge




       1
             28 U.S.C. § 636 normally gives parties ten days to object to
 recommendations submitted by a magistrate judge. However, as this recommendation
 is agreed, the court need not wait ten days before adopting such recommendation.

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